               Case 2:19-cr-00656-DMG Document 58 Filed 09/18/20 Page 1 of 6 Page ID #:327
                                                        United States District Court                                          JS-3
                                                        Central District of California


UNITED STATES OF AMERICA vs.                                                Docket No.             CR 19-656-DMG

Defendant         FRANCISCO SANCHEZ                                         Social Security No. 0           2    9     3

akas: Eddie Nash                                                            (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                     MONTH   DAY   YEAR
           In the presence of the attorney for the government, the defendant appeared in person on this date.        SEPT    15     2020


 COUNSEL                                                               Douglas Miranda, Retained
                                                                             (Name of Counsel)

     PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO               NOT
                                                                                                                CONTENDERE           GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Production of Child Pornography in violation of Title 18 U.S.C. §§ 2251(a) as charged in Counts 1 and 2 of the Indictment.
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM    that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to
  ORDER   the custody of the Bureau of Prisons to be imprisoned for a term of: TWO HUNDRED AND TEN (210) MONTHS. The
          term consists of 210 months on each of Counts 1 and 2 of the Indictment to be served CONCURRENTLY.

        It is ordered that the defendant shall pay to the United States a special assessment of $200, which is due immediately. Any unpaid
balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons’
Inmate Financial Responsibility Program.

         Pursuant to 18 U.S.C. § 3014, the additional special assessment is waived as the Court finds that the defendant has established that he
is unable to pay and is not likely to become able to pay the additional special assessment.

         The Court defers ruling on the amount of victim restitution owed and shall set a further hearing for that purpose on December 8, 2020
at 11:00 a.m.

          Pursuant to Guideline §5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is unable to pay and
is not likely to become able to pay any fine in addition to restitution.

         The Court finds that the property identified in Paragraph 2(i) of the parties’ plea agreement is subject to forfeiture. The preliminary
order of forfeiture, filed on September 17, 2020, is incorporated herein.

        Upon release from imprisonment, the defendant shall be placed on supervised release for a term of LIFE on each of Counts 1 and 2, to
run concurrently under the following terms and conditions:

         1.   The defendant shall comply with the rules and regulations of the United States Probation Office and Amended General Order 20-
              04.

         2.   The defendant shall not commit any violation of federal, state, or local law or ordinance.

         3.   The defendant shall cooperate in the collection of a DNA sample from the defendant.

         4.   During the period of community supervision, the defendant shall pay the special assessment and any restitution ordered in
              accordance with this judgment’s orders pertaining to such payment.

         5.   Within three (3) days of release from prison, the defendant shall register as a sex offender, and keep the registration current, in

CR-104 (docx 10/15)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                                Page 1 of 6
                Case 2:19-cr-00656-DMG Document 58 Filed 09/18/20 Page 2 of 6 Page ID #:328

USA vs.        FRANCISCO SANCHEZ                                                Docket No.:     CR 19-656-DMG

                each jurisdiction where he resides, where he is an employee, and where he is a student, to the extent the registration procedures
                have been established in each jurisdiction. When registering for the first time, the defendant shall also register in the jurisdiction
                in which the conviction occurred if different from his jurisdiction of residence. The defendant shall provide proof of registration
                to the Probation Office within 48 hours of registration.

          6.    The defendant shall participate in mental health treatment, which may include evaluation and counseling, until discharged from
                the treatment by the treatment provider, with the approval of the Probation Officer.

          7.     The defendant shall participate in a psychological counseling or psychiatric treatment or a sex offender treatment program, or any
                combination thereof as approved and directed by the Probation Officer. The defendant shall abide by all rules, requirements, and
                conditions of such program, including submission to risk assessment evaluations and physiological testing, such as polygraph and
                Abel testing.

          8.    As directed by the Probation Officer, the defendant shall pay all or part of the costs of psychological counseling or psychiatric
                treatment, or a sex offender treatment program, or any combination thereof to the aftercare contractor during the period of
                community supervision. The defendant shall provide payment and proof of payment as directed by the Probation Officer. If the
                defendant has no ability to pay, no payment shall be required.

          9.    The defendant shall not view or possess any materials, including pictures, photographs, books, writings, drawings, videos, or
                video games, depicting and/or describing child pornography, as defined in 18 U.S.C. §2256(8), or sexually explicit conduct
                depicting minors, as defined at 18 U.S.C. §2256(2). This condition does not prohibit the defendant from possessing materials
                solely because they are necessary to, and used for, a collateral attack, nor does it prohibit him from possessing materials prepared
                and used for the purposes of his Court-mandated sex offender treatment, when the defendant's treatment provider or the probation
                officer has approved of his possession of the material in advance.

          10. The defendant shall not associate or have verbal, written, telephonic, or electronic communication with any person under the age
              of 18, except: (a) in the presence of the parent or legal guardian of said minor; and (b) on the condition that the defendant notify
              said parent or legal guardian of his conviction in the instant offense. This provision does not encompass persons under the age of
              18, such as waiters, cashiers, ticket vendors, etc., whom the defendant must interact with in order to obtain ordinary and usual
              commercial services.

          11. The defendant shall not frequent, or loiter, within 100 feet of school yards, parks, public swimming pools, playgrounds, youth
              centers, video arcade facilities, or other places primarily used by persons under the age of 18.

          12. The defendant shall not affiliate with, own, control, volunteer or be employed in any capacity by a business or organization that
              causes him to regularly contact persons under the age of 18.

          13. The defendant shall not affiliate with, own, control, or be employed in any capacity by a business whose principal product is the
              production or selling of materials depicting or describing “sexually explicit conduct,” as defined at 18 U.S.C. § 2256(2).

          14. The defendant shall not own, use or have access to the services of any commercial mail-receiving agency, nor shall he open or
              maintain a post office box, without the prior written approval of the Probation Officer.

          15. The defendant’s employment shall be approved by the Probation Officer, and any change in employment must be pre-approved
              by the Probation Officer. The defendant shall submit the name and address of the proposed employer to the Probation Officer at
              least 10 days prior to any scheduled change.

          16. The defendant shall submit to a search, at any time, with or without warrant, and by any law enforcement or probation officer, of
              the defendant's person and any property, house, residence, vehicle, papers, computers [as defined in 18 U.S.C. § 1030(e)(1)], cell
              phones, other electronic communication or data storage devices or media, effects and other areas under the defendant’s control,
              upon reasonable suspicion concerning a violation of a condition of supervision or unlawful conduct by the defendant, or by any
              probation officer in the lawful discharge of the officer's supervision functions.

          17. The defendant shall possess and use only those computers and computer-related devices, screen user names, passwords, email
              accounts, and Internet service providers (ISPs) that have been disclosed to the Probation Officer upon commencement of
              supervision. Any changes or additions are to be disclosed to the Probation Officer prior to the first use. Computers and
              computer-related devices include personal computers, personal data assistants (PDAs), Internet appliances, electronic games,
              cellular telephones, and digital storage media, as well as their peripheral equipment, that can access, or can be modified to access,
              the Internet, electronic bulletin boards, and other computers.

CR-104 (docx 10/18)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                     Page 2 of 6
               Case 2:19-cr-00656-DMG Document 58 Filed 09/18/20 Page 3 of 6 Page ID #:329

USA vs.     FRANCISCO SANCHEZ                                                  Docket No.:     CR 19-656-DMG

          18. All computers, computer-related devices, and their peripheral equipment, used by the defendant, shall be subject to search and
              seizure. This shall not apply to items used at the employment site, which are maintained and monitored by the employer.

          19. Defendant shall comply with the rules and regulations of the Computer Monitoring Program. The defendant shall pay the cost of
              the Computer Monitoring Program, in an amount not to exceed $32 per month per device connected to the Internet.

          20. The defendant shall not contact the individuals identified in Attachment A of the written Plea Agreement filed on March 20, 2020
              (Attachment A), by any means, including in person, by mail or electronic means, or via third parties. Further, the defendant shall
              remain at least 100 yards from the individuals identified in Attachment A, at all times. If any contact occurs, the defendant shall
              immediately leave the area of contact and report the contact to the Probation Officer.

          21. The defendant shall comply with the immigration rules and regulations of the United States, and if deported from this country,
              either voluntarily or involuntarily, not reenter the United States illegally. The defendant is not required to report to the Probation
              Office while residing outside of the United States; however, within 72 hours of release from any custody or any reentry to the
              United States during the period of Court-ordered supervision, the defendant shall report for instructions to the United States
              Probation Office located at 300 North Los Angeles Street, Suite 1300, Los Angeles, California 90012-3323.

         The drug testing condition mandated by statute is suspended based on the Court's determination that the defendant poses a low risk of
future substance abuse.

          The Court authorizes the Probation Officer to disclose the Presentence Report, and/or any previous mental health evaluations or
reports, to the treatment provider. The treatment provider may provide information (excluding the Presentence Report), to State or local social
service agencies (such as the State of California, Department of Social Services), for the purpose of the client's rehabilitation.

         It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons on December 11, 2020
at or before 12 noon. In the absence of such designation, the defendant shall report on or before the same date and time to the United States
Marshal located at the Roybal Federal Building, 255 East Temple Street, Los Angeles, California 90012.

          The bond is exonerated upon surrender.

          The Court dismisses all remaining counts of the underlying indictment as to this defendant.

          The Court recommends that the defendant be assigned to a federal correctional facility in the Southern California area.

          The Court informs the defendant of his right to appeal.




CR-104 (docx 10/18)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                                    Page 3 of 6
               Case 2:19-cr-00656-DMG Document 58 Filed 09/18/20 Page 4 of 6 Page ID #:330

USA vs.     FRANCISCO SANCHEZ                                                         Docket No.:     CR 19-656-DMG


In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.




           September 18, 2020
           Date                                                         Dolly M. Gee, United States District Judge

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                        Clerk, U.S. District Court




           September 18, 2020                                    By     /s/ Kane Tien
           Filed Date                                                   Deputy Clerk



The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                              STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                              While the defendant is on probation or supervised release pursuant to this judgment:
1.   The defendant must not commit another federal, state, or local              9.     The defendant must not knowingly associate with any persons
     crime;                                                                             engaged in criminal activity and must not knowingly associate with
2.   The defendant must report to the probation office in the federal                   any person convicted of a felony unless granted permission to do so
     judicial district of residence within 72 hours of imposition of a                  by the probation officer. This condition will not apply to intimate
     sentence of probation or release from imprisonment, unless                         family members, unless the court has completed an individualized
     otherwise directed by the probation officer;                                       review and has determined that the restriction is necessary for
3.   The defendant must report to the probation office as instructed by                 protection of the community or rehabilitation;
     the court or probation officer;                                             10.    The defendant must refrain from excessive use of alcohol and must
4.   The defendant must not knowingly leave the judicial district                       not purchase, possess, use, distribute, or administer any narcotic or
     without first receiving the permission of the court or probation                   other controlled substance, or any paraphernalia related to such
     officer;                                                                           substances, except as prescribed by a physician;
5.   The defendant must answer truthfully the inquiries of the probation         11.    The defendant must notify the probation officer within 72 hours of
     officer, unless legitimately asserting his or her Fifth Amendment                  being arrested or questioned by a law enforcement officer;
     right against self-incrimination as to new criminal conduct;                12.    For felony cases, the defendant must not possess a firearm,
6.   The defendant must reside at a location approved by the probation                  ammunition, destructive device, or any other dangerous weapon;
     officer and must notify the probation officer at least 10 days before       13.    The defendant must not act or enter into any agreement with a law
     any anticipated change or within 72 hours of an unanticipated                      enforcement agency to act as an informant or source without the
     change in residence or persons living in defendant’s residence;                    permission of the court;
7.   The defendant must permit the probation officer to contact him or           14.    As directed by the probation officer, the defendant must notify
     her at any time at home or elsewhere and must permit confiscation                  specific persons and organizations of specific risks posed by the
     of any contraband prohibited by law or the terms of supervision                    defendant to those persons and organizations and must permit the
     and observed in plain view by the probation officer;                               probation officer to confirm the defendant’s compliance with such
8.   The defendant must work at a lawful occupation unless excused by                   requirement and to make such notifications;
     the probation officer for schooling, training, or other acceptable          15.    The defendant must follow the instructions of the probation officer
     reasons and must notify the probation officer at least ten days                    to implement the orders of the court, afford adequate deterrence
     before any change in employment or within 72 hours of an                           from criminal conduct, protect the public from further crimes of the
     unanticipated change;                                                              defendant; and provide the defendant with needed educational or
                                                                                        vocational training, medical care, or other correctional treatment in
                                                                                        the most effective manner.




CR-104 (docx 10/18)                                 JUDGMENT & PROBATION/COMMITMENT ORDER                                                             Page 4 of 6
               Case 2:19-cr-00656-DMG Document 58 Filed 09/18/20 Page 5 of 6 Page ID #:331

USA vs.     FRANCISCO SANCHEZ                                                    Docket No.:     CR 19-656-DMG



     The defendant will also comply with the following special conditions (set forth below).

          STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

          The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be
subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
applicable for offenses completed before April 24, 1996.

         If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

         The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

         The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18
U.S.C. § 3563(a)(7).

          Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

          CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

         As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
for any loan or open any line of credit without prior approval of the Probation Officer.

         The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
proceeds must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts,
including any business accounts, must be disclosed to the Probation Officer upon request.

        The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




CR-104 (docx 10/18)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                                    Page 5 of 6
               Case 2:19-cr-00656-DMG Document 58 Filed 09/18/20 Page 6 of 6 Page ID #:332

USA vs.     FRANCISCO SANCHEZ                                                  Docket No.:        CR 19-656-DMG



                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
Defendant delivered on                                                                      to
Defendant noted on appeal on
Defendant released on
Mandate issued on
Defendant’s appeal determined on
Defendant delivered on                                                                    to
    at
    the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                    United States Marshal


                                                             By
           Date                                                     Deputy Marshal




                                                                CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.
                                                                    Clerk, U.S. District Court


                                                             By
           Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY



Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


          These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



          (Signed)
                      Defendant                                                                  Date




                      U. S. Probation Officer/Designated Witness                                 Date




CR-104 (docx 10/18)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 6 of 6
